            Case 3:20-cv-08570-JD Document 49 Filed 02/19/21 Page 1 of 5




 1 Jennie Lee Anderson (SBN 203586)
   ANDRUS ANDERSON LLP
 2 155 Montgomery Street, Suite 900
   San Francisco, CA 94104
 3
   Tel. (415) 986-1400; Fax. (415) 986-1474
 4 jennie@andrusanderson.com
     Garrett D. Blanchfield                        David Gringer
 5
     Brant Penney                                  WILMER CUTLER PICKERING
 6   REINHARDT WENDORF & BLANCHFIELD               HALE AND DORR LLP
     332 Minnesota Street, Suite W1099             1875 Pennsylvania Avenue NW
 7   St. Paul, MN 55101                            Washington, DC 20006 USA
     Tel. (651) 287-2100; Fax. (651) 287-2103      Tel.: (202) 663-6600
 8   g.blanchfield@rwblawfirm.com                  Fax.: (202) 663-6363
 9   b.penney@rwblawfirm.com                       david.gringer@wilmerhale.com
     Counsel for Plaintiff                         Counsel for Defendant
10

11
                           IN THE UNITED STATES DISTRICT COURT
12                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
   MAXIMILIAN KLEIN and SARAH                   Case No. 5:20-cv-08570-LHK
14 GRABERT, individually and on behalf of all
   others similarly situated,                   JOINT STIPULATED
15                                              ADMINISTRATIVE MOTION TO
                  Plaintiff,                    CONSIDER WHETHER CASES
16                                              SHOULD BE RELATED AND
           vs.                                  [PROPOSED] ORDER
17
   FACEBOOK, INC., a Delaware corporation
18 headquartered in California,                 CIV. L.R. 3-12, 7-11

19                  Defendant.

20
   RITA GARVIN, individually and on behalf      Case No. 21-cv-00618-KAW
21 of all others similarly situated,

22                  Plaintiff,

23          vs.

24 FACEBOOK, INC., a Delaware corporation
   headquartered in California,
25
                 Defendant.
26

27
     JOINT STIPULATED ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
28                                   AND [PROPOSED] ORDER
                                    Case No. 5:20-cv-08570-LHK
           Case 3:20-cv-08570-JD Document 49 Filed 02/19/21 Page 2 of 5




 1          Pursuant to Civil Local Rules 3-12(b) and 7-11, Plaintiff Rita Garvin and Defendant

 2 Facebook, Inc. (“Parties”) hereby file this Joint Stipulated Administrative Motion to determine

 3 whether Garvin v. Facebook, Inc., Case No. 21-cv-00618-KAW (filed January 26, 2021) (attached

 4 as Exhibit A), should be related to and consolidated with Klein, et al. v. Facebook, Inc., Case No.

 5 5:20-cv-08570-LHK and the other cases consolidated with Klein (collectively, “the Klein

 6 coordinated proceedings”). Plaintiffs in Klein do not oppose. By and through their undersigned

 7 counsel, the Parties agree to the following:

 8                The Klein coordinated proceedings and the instant case all involve the same parties,
 9                 transactions, and events. Under Local Rule 3-12(a), “An action is related to another

10                 when: (1) The actions concern substantially the same parties, property, transaction or

11                 event; and (2) It appears likely that there will be an unduly burdensome duplication

12                 of labor and expense or conflicting results if the cases are conducted before different

13                 Judges.” Here, both criteria are satisfied.

14                The Garvin and Klein actions arise from substantially the same transactions and
15                 events. Both allege that Facebook acquired and maintained illegal monopolies in

16                 social networking and connected markets through the same or similar conduct,

17                 including anticompetitive deception, misuse of data, and acquisitions.

18                Because they involve similar issues of fact and law, it is appropriate to relate and
19                 consolidate these actions in order to avoid an unduly burdensome duplication of

20                 labor and expense or conflicting results. Civil Local Rule 3-12(a)(2).

21 SO STIPULATED.

22

23 Dated: February 19, 2021                       Respectfully submitted,

24                                                ANDRUS ANDERSON LLP

25                                                By:     /s/ Jennie Lee Anderson
                                                         Jennie Lee Anderson
26
                                                  Jennie Lee Anderson (SBN 203586)
27                                              -2-
     JOINT STIPULATED ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
28                                   AND [PROPOSED] ORDER
                                    Case No. 5:20-cv-08570-LHK
           Case 3:20-cv-08570-JD Document 49 Filed 02/19/21 Page 3 of 5




 1                                       jennie@andrusanderson.com
                                         ANDRUS ANDERSON LLP
 2                                       155 Montgomery Street, Suite 900
                                         San Francisco, CA 94104
 3
                                         Telephone:    (415) 986-1400
 4                                       Facsimile:    (415) 986-1474

 5
                                         Garrett D. Blanchfield
 6                                       Brant Penney
                                         REINHARDT WENDORF & BLANCHFIELD
 7
                                         332 Minnesota Street, Suite W1050
 8                                       St. Paul, MN 55101
                                         Tel: (651) 287-2100
 9                                       Fax: (651) 287-2103
                                         g.blanchfield@rwblawfirm.com
10                                       b.penney@rwblawfirm.com
11
                                         Attorneys for Plaintiff
12

13
                                         WILMERHALE
14

15
     Dated: February 19, 2021            By:      /s/ David Gringer
16                                                David Gringer
                                         David Gringer
17                                       WILMER CUTLER PICKERING HALE AND
                                         DORR LLP
18                                       1875 Pennsylvania Avenue NW
19                                       Washington, DC 20006 USA
                                         Tel.: (202) 663-6600
20                                       Fax.: (202) 663-6363
                                         david.gringer@wilmerhale.com
21
                                         Attorney for Defendant
22

23

24

25

26

27                                              -3-
     JOINT STIPULATED ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
28                                   AND [PROPOSED] ORDER
                                    Case No. 5:20-cv-08570-LHK
           Case 3:20-cv-08570-JD Document 49 Filed 02/19/21 Page 4 of 5




 1                                       [PROPOSED] ORDER

 2         Plaintiff Rita Garvin filed and Defendant Facebook, Inc. have filed a Joint Stipulated

 3 Administrative Motion to Consider Whether Case Should Be Related pursuant to Local Rule 3-12.

 4 The Court, having considered the papers and pleadings on file, and good cause appearing, hereby

 5 GRANTS the joint stipulated motion.

 6         Accordingly, Garvin v. Facebook, Inc., Case No. 21-cv-00618-KAW, is hereby deemed

 7 related to and consolidated with Klein et al. v. Facebook, Inc., Case No. 5:20-cv-08570-LHK, and

 8 the other cases consolidated with Klein, and shall be assigned to the undersigned Judge.

 9

10 IT IS SO ORDERED.

11
     Dated: _______________                             _________________________________
12                                                      HON. LUCY H. KOH
                                                        UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27                                              -1-
     JOINT STIPULATED ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
28                                   AND [PROPOSED] ORDER
                                    Case No. 5:20-cv-08570-LHK
           Case 3:20-cv-08570-JD Document 49 Filed 02/19/21 Page 5 of 5




 1                                     SIGNATURE ATTESTATION

 2          Pursuant to Civil L.R. 5-1(i)(3), the filing attorney attests that concurrence regarding the
 3
     filing of this document has been obtained from the signatories above.
 4

 5
     Date: ________                                       By: /s/ Jennie Lee Anderson
 6                                                              Jennie Lee Anderson
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27                                               -1-
     JOINT STIPULATED ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
28                                   AND [PROPOSED] ORDER
                                    Case No. 5:20-cv-08570-LHK
